IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
KNOXVILLE DIVISION

SANDRA LOVEDAY, Administrator of the Estate

of BONNIE ELLEN JONES and SANDRA

LOVEDAY, individually and as next of kin and for

the Wrongful death of BONNIE ELLEN JONES, PLAINTIFF

VS. CASE NO:

SSC ANDERSONVILLE OPERATING COMPANY
LLC d/b/a NORRIS HEALTH AND

REHABILITATION CENTER,
DEFENDANT

 

NOTICE OF REMOVAL

 

PLEASE TAKE NOTICE that Defendant, SSC Andersonville Operating Company
LLC d/b/a Norris Health and Rehabilitation Center, gives notice of the removal of the above
entitled action, Which is filed as Civil Action Number: B3LA0110 in the Circuit Court for
Anderson County, Tennessee, from said court to the United States District Court for the Eastern
District of Tennessee. This Notice of Removal is filed pursuant to 28 U.S.C. § 1332, 28 U.S.C. §
1441, and 28 U.S.C. § 1446.

CIVIL ACTION REMOVED

l. Civil Action Number: B3LAOl 10 in the Circuit Court for Anderson County,
Tennessee, Which is styled, ‘Sandra Loveday, Administrator of the Estate of Bonnz'e Ellen Jones
and Sandra Loveday, individually and as next of kin and for the wrongful death of Bonnie Ellen

Jones v. SSC Andersonville Operating Company, LLC d/b/a Norris Health and Rehabilitation

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Center is a civil action that Was filed on May 6, 2013. The Plaintiff alleges that the Defendant
committed medical negligence While providing care to Bonnie Ellen Jones While she Was a
resident at the nursing home, Norris Health and Rehabilitation Center.

DIVERSlTY OF CITIZENSHIP

2. The Plaintiff alleges that the decedent Was an adult resident of Anderson County,
Tennessee.

3. Defendant SSC Andersonville Operating Company LLC is a Delaware limited
liability company. Its sole equity member is SSC Submaster Holdings LLC. SSC Submaster
Holdings LLC’s sole equity member is SSC Equity Holdings, LLC. SSC Equity Holdings,
LLC’s sole equity member is SavaSeniorCare, LLC. SavaSeniorCare, LLC’s sole equity member
is SVCARE Holdings LLC. SVCARE Holdings, LLC’s sole equity member is Canyon Sudar
Partners, LLC, and Canyon Sudar Partners, LLC has two members, Leonard Grunstein and
Murray Forman. Mr. Grunstein is a resident of Teaneck, New Jersey, and Mr. Forman is a
resident of LaWrence, New York.

4. A limited liability company is a citizen of every state in Which one of its members
is a citizen. Delay v. Rosenthal Collins Groap, LLC, 585 F.3d 1003, 1005 (6th Cir. 2009).
Based on the structure set out above, SSC Andersonville Operating Company LLC is a resident
of NeW York and New Jersey.

5. Therefore, there is complete diversity of citizenship between the parties as defined
by 28 U.S.C. § 1322(a)(l).

FACTS AND CONTROVERSY SUPP()RTING JURISDICTIONAL AMOUNT
6, Plaintiffs Complaint (Which is attached as part of Exhibit “A”) alleges medical

negligence on the part SSC Andersonville Operating Company LLC, and seeks compensatory

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and punitive damages for Wrongful death and survival, decedent’s physical injuries, conscious
pain and suffering, mental anguish, loss of enjoyment of life and wrongful death.

7. The Complaint seeks recovery for alleged negligence Which Plaintiff contends
resulted, ultimately, in Ms. Jones’s death. The Complaint seeks over $2,()00,000.00 in
compensatory damage and $4,000,000.00 in punitive damages, as well as cost of the action and
the plaintiffs attorneys’ fees. Thus, the amount in controversy exceeds the jurisdictional
requirement of $75,000.00, exclusive of costs and interest, as required by 28 U.S.C. § 1332.

8. Accordingly, this Court has original jurisdiction over this civil action pursuant to
28 U.S.C. § 1332, in that it is a civil action between citizens of different states, wherein the
amount in controversy exceeds the sum of $75,()0().00, exclusive of costs and interest.
Therefore, this action may be removed to this Court pursuant to 28 U.S.C. § l44l.

TIMELINESS OF REMOVAL

9. SSC Andersonville Operating Company LLC was served with process on May 15,
2013. Therefore, thirty days have not elapsed since the removing Defendant was served with
process or first became aware that federal jurisdiction exists, and Defendant’s removal is timely
as required by 28 U.S.C. § l446(b).

COPIES OF STATE COURT PROCEEDINGS

10. Pursuant to 28 U.S.C. §1446(a), the Defendant attaches hereto as Exhibit “A” and
incorporates herein by reference, a certified copy of the complete file in Civil Action Number:
B3LA0110 in the Circuit Court for Anderson County, Tennessee.

NOTICE TO THE STATE COURT
ll. The Defendant will immediately file with the Circuit Court of Anderson County,

Tennessee, a true and correct copy of this Notice, thereby effecting removal of this action to this

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Court. As per 28 U.S.C. § l446(d), no further proceedings shall be had in the Circuit Court cf
Anderson County, Tennessee.
NOTICE TO PLAINTIFF

12. Pursuant to 28 U.S.C. § l446(d), and consistent with the Certificate of Service, the
Plaintiff is being provided with a copy of this Notice of Removal.

WHEREFORE, PREMISES CONSIDERED, SSC Andersonville Operating Company
LLC d/b/a Norris Health and Rehabilitation Center respectfully prays that this Court will receive
this Notice of Removal, place it upon the docket of this Court, and that the Circuit Court of
Anderson County, Tennessee will proceed no further in this action unless and until this matter is

remanded.
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Respectfully submitted this the day of June, 2013.

HAGWOOD ADELMAN TlPTON, PC

BY: ¢§m//¢/Q /M// gaer
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CERTIFICATE OF SERVICE

l hereby certify that on the Z_é_ day of June, 2013, a copy of the foregoing has been
mailed by United States mail, postage prepaid, to the following:

David E. High, Esq.

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